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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:09CR9
                                              )
                Plaintiff,                    )
                                              )
                vs.                           )                 TRIAL ORDER
                                              )
ADRIANA GARCIA-SILVA,                         )
                                              )
                Defendant.                    )

        Trial in this matter is scheduled to begin on Tuesday, September 1, 2009,

commencing at 9:00 a.m., or as soon thereafter as the same may be tried, before District

Judge Laurie Smith Camp, in Courtroom No. 2, Third Floor, Roman L. Hruska Courthouse,

111 S. 18th Plaza, Omaha, Nebraska. It is anticipated that this trial will last approximately

1.5 days. A Pretrial Conference, beginning at 8:30 a.m., will be held in chambers prior

to the start of trial.

        Counsel is advised that street clothes must be provided for the defendant in any

trial proceedings.



        DATED this 27th day of August, 2009.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
